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AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT Court! SEP 26 py 3: 19

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Middle District of Florida reUOL Fd i
~ F RIDA. A
GREY OAKS COUNTRY CLUB, INC.
Plaintiffs)
Vv. Civil Action No.

ZURICH AMERICAN INSURANCE COMPANY

ALS CV-639 -Filh-9q Cm

 

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
ZURICH AMERICAN INSURANCE COMPANY
c/o Registered Agent
Chief Financial Officer
200 E. Gaines Street
Tallahassee, Florida 32399

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ,
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Walter J. Andrews, Esq., Michael J. Mueller, Esq., Cary D. Steklof, Esq., Hunton
Andrews Kurth LLP, 1111 Brickell Avenue, Suite 2500, Miami, FL 33131 Ph: (305)
810-2500

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

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Signature of Ci 7 or Deputy Clerk
